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                                     MASTER SERVICE LIST
                                Brazos Sandy Creek Cooperative, Inc.
                                         Case No. 22-30682

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